          Case 3:18-cr-00432-JLS Document 218 Filed 02/02/21 PageID.930 Page 1 of 4



1
2
3
4
5
6
7
8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No.: 18cr0432-JLS
12                                      Plaintiff,
                                                         ORDER AND FINDINGS OF FACT
13   v.
14   Jimmy Collins(1),
     Ashley Collins (2),
15
                                      Defendant.
16
17
              1.    On December 7, 2020, the Chief Judge of this Court, citing a resurgence of
18
      the COVID-19 pandemic, entered Order of the Chief Judge (OCJ) 52A. That Order
19
      reinstated a temporary moratorium on jury trials and most other in-person criminal
20
      proceedings that were scheduled to begin before January 8, 2021. OCJ 52A augmented
21
      earlier emergency Orders that remain in place, including OCJ 18, which has been renewed
22
      every thirty days since it was first issued on March 17, 2020. The Chief Judge determined
23
      that because of the recent spike in COVID-19 infections, many of the emergency
24
      circumstances cited in the first paragraph of OCJ 18 had reemerged, and he incorporated
25
      by reference the findings set forth in the first paragraph of that Order into OCJ 52A.
26
     //
27
     //
28

                                                     1
                                                                                      18cr0432-JLS
          Case 3:18-cr-00432-JLS Document 218 Filed 02/02/21 PageID.931 Page 2 of 4



1    //
2             2.    On January 4, 2021, the Chief Judge entered OCJ 52B. That order extended
3     OCJ 52A and will expire on January 22, 2021. On January 13, 2021, the Chief Judge
4     entered OCJ 52C. Based upon our county's continued status in the most restricted tier, and
5     the renewed danger to health and safety posed by the recent resurgence of the COVID-19
6     pandemic, OCJ 52C extends OCJ 52B until Friday, February 5, 2021.
7             3.    Now therefore, for the reasons set forth in OCJ 52A, and for additional reasons
8     recited below, this Court finds that the ends of justice are served by a continuance in this
9     case, and that the need for a continuance outweighs the best interest of the public and
10    defendant in conducting a trial and related criminal proceedings according to the time
11    tables required by law in non-emergency conditions. The Court further finds that failure
12    to grant a continuance will deprive all counsel – Government and defense – reasonable
13    time necessary for effective preparation, notwithstanding their due diligence, and will
14    result in the futility of proceedings.
15            4.    The facts supporting these findings are well established and not reasonably
16    subject to dispute. After the number of COVID-19 infections had fallen to new lows
17    during the summer months of 2020, suddenly in November 2020, San Diego and Imperial
18    Counties experienced a surge in new COVID-19 infections. Hospital intensive care unit
19    capacity in both counties fell below 15%. In response, on December 6, 2020, the State of
20    California and the County of San Diego ordered a three-week lock down of most
21    businesses and ordered residents to stay at home to prevent the spread of COVID-19. The
22    state and county orders forbade most social gatherings and limited operations taking place
23    inside facilities to 20% of the usual capacity of the facilities.
24            5.    The operation of the criminal justice system has been profoundly hindered by
25    the resurgence of the COVID-19 virus and by the measures enacted to stem the spread of
26    the virus. For example, periodic quarantines of varying duration have recently been
27    imposed at local federal detention facilities as rising numbers of inmates have tested
28    positive for the virus. Because of these restrictions, detainees have been unable to meet

                                                     2
                                                                                        18cr0432-JLS
     Case 3:18-cr-00432-JLS Document 218 Filed 02/02/21 PageID.932 Page 3 of 4



1    personally with their defense counsel or to communicate with counsel via
2    videoconferencing or in some cases even by telephone. Consequently, the ability of
3    defense counsel to effectively represent their clients has been temporarily frustrated. The
4    “stay-at-home” edicts issued by the State of California and the County of San Diego have
5    also made it difficult for the Court to convene grand juries, to empanel the required number
6    of trial jurors, and to secure the attendance of necessary witnesses for evidentiary
7    proceedings. Additionally, more than half of this Court’s staff are currently staying home
8    and are unavailable to assist with the day-to-day operations of the Court. Similar staffing
9    restrictions affect the United States Attorney’s Office for the Southern District of
10   California and Federal Defenders of San Diego, Inc., impeding the ability of lawyers and
11   staff to perform their functions. Lawyers on the Court’s Criminal Justice Act Panel have
12   likewise been adversely affected by the restrictions brought about by the COVID-19
13   pandemic.
14        6.     Because of the foregoing, the Court finds that criminal proceedings in this
15   case cannot proceed as usual at the present time and must be postponed. The Court further
16   finds that the usual deadlines set forth in the Speedy Trial Act, the Federal Rules of
17   Criminal Procedure, and in other provisions of the U.S. Code must be and are tolled,
18   including in particular the deadlines for conducting preliminary hearings under Fed. R.
19   Crim. P. 5.1 and for commencement of trial under 18 U.S.C. § 3161(c)(1).
20        7.     The Court finds that the ends of justice are served by continuing proceedings
21   in this matter, and that the need and justifications for a continuance outweigh the interest
22   of the public, of the government, and of criminal defendants in a speedier trial and criminal
23   proceedings. The Court further finds that the period of delay necessitated by these
24   emergency circumstances should be, and is, excluded under the Speedy Trial Act, pursuant
25   to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(B)(iv).
26        8.     As an alternative basis for these findings, the Court relies on the previously
27   issued Judicial Emergency Declaration, first issued by the Chief Judge on March 17, 2020,
28   pursuant to 18 U.S.C. § 3174(c), and thereafter extended by the Judicial Council of the

                                                  3
                                                                                       18cr0432-JLS
     Case 3:18-cr-00432-JLS Document 218 Filed 02/02/21 PageID.933 Page 4 of 4



1    Ninth Circuit until April 17, 2021. The recent spike in COVID-19 infections supports
2    continued reliance on the Judicial Emergency Declaration as an additional basis for this
3    Court’s findings that a continuance of this matter serves the interests of justice and that
4    time limits should be tolled in this case.
5         IT IS SO ORDERED.
6
7         Dated: 2/2/2021

8                                                 Honorable Janis L. Sammartino
                                                  United States District Judge
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  4
                                                                                     18cr0432-JLS
